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MEMORANDUM OF UNDERSTANDING
This Memorandum of Understanding (“l\/[OU”) memorializes a Settlement Agreement
reached on November 28, 2016, between authorized representatives of the class action plaintiffs
individually and on behalf of the members of the proposed settlement class as defined in Section
2 herein (hereinafter referred to as “Plaintiffs”) in the case of DeRay McKesson, Kira Marrero,
Gloria La Riva and Brandon Wayne Erp v. City of Baton Rouge; East Baton Rouge Parish;
Melvin “Kip” Holden, Mayor-Parish President; Carl Dabadie, Jr., Chief of Police, Baton Rouge;
Sid J. Gautreaux, lll, Sheriff of East Baton Rouge; Colonel Michael Edmondson,
Superintendent, Louisiana State Police; Hillar C. Moore, lll, District Attorney (herein after
referred to as “Defendants”) filed in the United States Middle District of Louisiana, Civil Action
No. 3;16-cv-00520 (hereinafter referred to as the “Litigation”), and authorized representatives of
Defendants and AIX Group doing business as Nova Casualty Company (herein after referred to
as “Nova”) related to the matters, risks, and claims asserted by Plaintiffs against Defendants in
the Litigation. Plaintiffs and Defendants sometimes referred to collectively herein as “the
Parties.”
l. Court Ap_proval. The Parties understand and agree that this document sets forth the
understanding of the Parties that they have reached a full and final settlement, but the
Parties also understand and agree that for the settlement to be effective they must
obtain the necessary court approval and execute the necessary class action settlement
documents, including releases and dismissals in accordance With the terms of this
l\/IOU. The Parties further understand and agree that for the settlement to be effective

representatives of Plaintiffs and Defendants, must agree to and the Court must

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approve the timing, content and method of providing notice of the settlement to the
class.

2. Definition of Settlement Class. The “Settlement Class” shall be defined as following:
All persons arrested in connection with protests in Baton Rouge, Louisiana between
July 6, 2016 and July ll, 2016 for the single charge of Simple Obstruction of a
Highway pursuant to La. R.S. l4:97, who were not charged with any additional legal
violation, and who had no outstanding warrants except for those persons who execute
a timely and valid opt-out or exclusion request pursuant to Section 8 of this MOU.
(the “Settlement Class”) Defendants estimate that there are approximately ninety
potential members of the Settlement Class.

3. No Admission of Liabilitv. lt is understood and agreed that agreements contained
herein and the consideration given are to compromise and settle disputed claims,
avoid litigation, and buy peace, and that no payment made nor releases or other
consideration given shall constitute an admission of liability, all liability being
expressly denied. ln addition, the agreements contained herein are in no way an
admission of disputed facts. ln the event, the case and/or claims are not resolved by
this MOU, it is agreed and understood that the Defendants and Nova do not consent
or concede to proceeding by Class Action and the burden to prove entitlement to class
action procedure/status remains with Plaintiffs as provided by law.

4. Release. lt is understood and agreed that the Plaintiffs who have not opted out will
execute a release and dismissal, releasing and dismissing, with prejudice, any and all

claims made against Defendants and their predecessors, successors, assigns, and

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agents, officers, employees, and representatives of any of them, including any direct
actions filed against or that could have been filed against Nova and any other
company corporater affiliated with any of them and their predecessors, successors,
assigns, parent corporations, subsidiaries, affiliates, and agents, and the officers,
directors, employees, agents, shareholders and representatives of any of them, arising
out of Plaintiffs’ arrests, detention and incarceration pursuant to La. R.S. 14:97 while
protesting in Baton Rouge, Louisiana between July 6, 2016 and July ll, 2016. The
claims to be released specifically include any claims that were brought or could have
been brought against Nova. ln addition, the claims to be released specifically include
any and all claims brought in the Litigation against the Defendants, as well as any and
all other later claims brought in any other actions and lawsuits arising out of
Plaintiffs’ arrests detention and incarceration pursuant to La. R.S. 14:97 while
protesting in Baton Rouge, Louisiana between July 6, 2016 and July ll, 2016. The
authorized representatives of Plaintiffs collectively represent that they have the
authority from the class representatives to settle and to take all steps necessary to

effectuate this settlement agreement on behalf of Plaintiffs.

5. Pa}@ent. ln consideration for the agreements and releases provided in this MOU,
Defendants and Nova agree to the following upon final approval of the settlement by
the Court, execution of the release and dismissal of Plaintiffs’ claims:

a. Defendants will pay $230.00 to each member of the Settlement Class.

b. Nova will pay $270.00 to each member of the Settlement Class.

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b. Defendants will file and process a motion to expunge charges of Simple
Obstruction of a Highway of Commerce pursuant to La. R.S. 14:97 as to
Settlement Class members. Defendants will expedite the processing of said
expungements, obtain said expungements, and provide a signed order for said
expungements

c. Defendants will assume all costs of said expungements and waive all of their
respective fees customarily charged for said expungements

d. Defendants will pay all costs of notice of the settlement

e. Defendants will reimburse any Settlement Class member who paid a fee to
obtain a bond from a bondsman.

f. Any cash bond posted by or on behalf of a Settlement Class member will be
returned to the individual posting said bond without payment of the customary
associated bond release fees.

g. Defendants will provide a no-bill letter to all Settlement Class members
explaining that the charges related to Settlement Class members’ arrest
pursuant to La. R.S. 14:97 were rehised and the records of the arrest ordered
expunged

h. Defendants will pay all reasonable attorney fees as may be agreed to among
Defendants’ counsel and Plaintiffs’ counsel after the agreement as to the
principal settlement between the class members and Defendants. If

Defendants’ counsel and Plaintiffs’ counsel are not able to agree to attorney

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fees, the issue will be referred to the court for a final decision to be accepted
by all parties.

i. The entire amount paid by Defendants and Nova is sometimes referred herein
as “Settlement Funds.”

6. Preliminary Approvals. Within 21 days of execution of this MOU, the counsel for
Defendants and Plaintiffs will jointly move for i) preliminary approval of the
settlement and approval of the form and manner of notice of the proposed settlement
to the Class and ii) that the Litigation be stayed pending the final settlement approval;
and (iii) certification of the class for settlement purposes.

7. N_Lice_. The parties agree to propose to the Court that notice to the potential members
of the Settlement Class will be by U.S. first class mail only. Defendants agree to
prepare a mailing list of the names and addresses of all potential members of the
Settlement Class. Within 21 days of preliminary approval of the settlement and the
form and manner of notice of the proposed settlement, Defendants’ counsel shall send
notice to the potential members of the Settlement Class.

8. Exclusion from Class.

a. Each individual who properly returns to Plaintiffs’ counsel a timely written
request for exclusion/opt-out shall be excluded from the Settlement Class and
shall have no rights under this MOU or the class settlement agreement An
exclusion/opt-out request shall be deemed timely if it is postmarked no later

than 45 calendar days after the initial notice mailing date.

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b. No later than 60 calendar days after the initial notice mailing date, Plaintiffs’
counsel shall file and serve a declaration identifying all individuals who have
made a timely and valid request for exclusion/opt-out.

c. Louisiana State Police reserves the right to withdraw from the settlement if
more than 20 potential class members opt out of the Settlement Class. The
remaining Defendants and Nova reserve the right to opt out if a majority of
the potential class members opt out of the Settlement Class. Defendants and
Nova will give notice within 10 days after receipt of notice of the number of
potential class members who have elected to opt out whether they will
exercise their right to withdraw from the settlement.

Faimess Hearing. The final approval hearing will be held on such date as the Court,
in its discretion may order. ln the event the class settlement agreement as set forth in
this MOU and any final settlement agreement is not given final approval in all
material respects, or the Court’s final approval order is reversed on appeal, this MOU
and any class settlement agreement will become null and void.

Dismissal. No later than 30 days after the Court’s granting of final approval of the
settlement, Plaintiffs’ counsel will file a motion to dismiss all claims against
Defendants in the Litigation with prejudice

Timing of Pavment and Expungements. Within 14 days of granting of final approval
of the settlement and dismissal as set forth above, and after Plaintiffs notification to
Defendants of the total number of potential members of the Settlement Class who

have opted out. Defendants and Nova will deliver their portion of the Settlement

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Funds to Plaintiffs’ counsel Within 7 days of final approval of the proposed
settlement and dismissal as set forth above, Defendants will begin the process of
obtaining the expungements of the members of the Settlement Class.

12. Distribution. The parties agree to recommend to the Court that Plaintiffs’ counsel will
handle the claims administrative process in-house and that no Special Master or court
appointed disbursement agent needs to be hired. Subject to approval of the Court,
after receiving the settlement proceeds, the Plaintiffs’ counsel will be appointed as
administrator Within 5 business days of the final approval of the settlement and
dismissal, Plaintiffs’ counsel will proceed with the distribution process. Defendants
will not be called upon to participate in the distribution process or to pay or contribute
any additional funds above the payment amounts listed in this MOU. Defendants will
not be responsible for any fees, costs or expenses including attomeys’ fees, relating to
the distribution process or its administration

13. Headings. Headings and captions contained in this MOA are for the purposes of
identification only and shall not be considered in construing this Agreement.

14. Choice of Law. All disputes or issues regarding interpretation and enforcement of the
agreement shall be determined under Louisiana law.

This Agreement to memorialize the settlement reached on November 28, 2016.

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Baton Rouge Parish, Mayor Melvin "‘Kl`p "
Holden, Ca)'[ Dabadi€, Jr., ChiqquPolz`ce,
Baton Rouge

 

Priiited Name

Date:

 

C ounsel for Sid J. Gautreaux, 1[1, S/ze‘rl_`/jf of East
Baton Rouge

Printed Name

Date:

 

 

C ounsel for C` 0/011€[ Mz'chael Ea’mondson,
Superinfendent, Louisiana State Police

 

Printed Name

Date:

 

 

C aulzsel for Hillar C. .Moo)'e, Il[, Dz`strl'Cf
Afz‘o)'n€yi’

 

Printed Name

Date: j

 

Rep)'es@ntalz'\'e ofA]X Group doing business as
Noi'a Casz'la/t_v Company

Priiited Name

Date:

 

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Counselfor Plaintiffs

Printed Name

Date:

 

 

Counselfor City ofBaton Rouge, East

Baton Rouge Parish, Mayor Melvin “Kip ”
Hola’en, Carl Dabaa’ie, Jr., Chief of Police,

Baton Rouge

 

Printed Name

Date:

 

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Bato Rouge

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Counselfor Colonel Michael Edmona’son,
Superintendent, Louisiana State University

 

Printed Name

Date:

 

 

Counselfor Hillar C. Moore, III, District
Attorney

 

Printed Name

Date:

 

Representative ofAIX Group doing business as
Nova Casualty Company

 

Printed Name

Date:

 

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Counsel for Plainti]j”s Counselfor Sid J. Gautreaux, III, Sheri]j’ of East
Baton Rouge

Printed Name Printed Name

Date: Date:

 

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Counsel for City of Baton Rouge, East
Baton Rouge Parish, Mayor Melvin “Kip”
Holden, Carl Dabadie, Jr., Chief of Police,
Baton Rouge

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Date:

 

Counselfor Colonel Michael Edmondson,
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Counsel for Hillar C. Moore, III, District
Attorney

 

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Date:

 

Representalive of AIX Group doing business as
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Counselfor Plaintiffs Counselfor Sid J. Gautreaux, III, Sherijj‘ of East
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Printed Name Printed Name

Date: Date:

 

 

Counselfor City of Baton Rouge, East
Baton Rouge Parish, Mayor Melvin “Kip ”
Holden, Carl Dabadie, Jr., Chief of Police,
Baton Rouge

 

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Counsel for Colonel Michael Edmondson,
Superintendent, Louisiana State Police

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Printed Name: Celeste Brustowicz

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Date:

 

 

Counselfor Hillar C. Moore, III, District
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Representative of AIX Group doing business as
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Date:

 

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Counsel for City of Baton Rouge, East

Balon Rouge Parish, Mayor Melvin “Kip”
Holden, Carl Dabadie, Jr., Chiefof}’olice,

Baton Rouge

 

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Counselfor Hillar C. Moore, III, Dl'slricl
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Representative of AIX Group doing business as
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Peter Carello
Printed Name

Date: 11/29/16

